                                                                Mar 18, 2022

                                                              s/ DarylOlszewski




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      .JMXBVLFF 8*

     Case 2:22-mj-00046-WED Filed 03/18/22 Page 1 of 38 Document 1
                            AFFIDAVIT IN SUPPORT OF AN
                        APPLICATION FOR A SEARCH WARRANT

       I, Kyle Veloz, being first duly sworn, hereby depose and state as follows:
                      INTRODUCTION AND AGENT BACKGROUND
       1.      I make this affidavit in support of an application under Rule 41 of the Federal Rules

of Criminal Procedure for a warrant to search the premises known as 214 E Florida Street #212,

Milwaukee, Wisconsin, 53204, hereinafter “PREMISES,” further described in Attachment A, for

the things described in Attachment B.

       2.      I have been employed with the Milwaukee Police Department as a full time sworn

police officer since June 2018. I am currently assigned as a task force officer (TFO) to the

Milwaukee Area Safe Streets Task Force (MASSTF) and the Federal Bureau of Investigation

(FBI) Milwaukee Field Office. In April 2021, I was officially sworn in as a federal task force

officer to work with the FBI’s gang task force, which provides me with the authorization to

present sworn affidavits in support of federal search warrant applications. I am an investigative

or law enforcement officer of the United States within the meaning of Title 18, United States

Code, Section 2510(7), in that I am empowered by law to conduct investigations of and to make

arrests for federal offenses.

       3.       I have received training and have experience in the area of controlled substances

investigations, money laundering, financial investigations, and various methods that drug dealers

use in an effort to conceal and launder the proceeds of their illicit drug trafficking enterprises. I

have participated in numerous investigations involving violations of controlled substances laws to

include other violations associated with the trafficking of controlled substance. I have participated

in numerous drug investigations utilizing various means of investigation including but not limited




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         Case 2:22-mj-00046-WED Filed 03/18/22 Page 2 of 38 Document 1
to, a wire investigation, the execution of search warrants, the use of subpoenas, and the use of

informants.

          4.   I have been trained in a variety of investigative and legal matters, including the

topics of Fourth Amendment searches, the drafting of search warrant affidavits, and probable

cause. I have participated in criminal investigations, surveillance, search warrants, interviews, and

debriefs of arrested subjects. As a result of this training and investigative experience, I have learned

how and why violent actors typically conduct various aspects of their criminal activities.

          5.   The facts in this affidavit come from my personal observations, my training and

experience, my review of documents, and information obtained from other agents and witnesses.

This affidavit is intended to show merely that there is probable cause for the requested warrant and

does not set forth all of my knowledge about this matter.

          6.   Since February 2021, the ATF, Milwaukee Police Department (MPD), Federal

Bureau of Investigation (FBI), and Drug Enforcement Administration (DEA) have been

investigating identified members of the “Wild 100’s”, a violent street gang in Milwaukee, also

known as the “Shark Gang”, including Byron J CLAYPOOL Jr (B/M, 07/03/1998), among others,

for federal firearms offenses and federal program fraud. Based on my training and experience and

the facts as set forth in this affidavit, there is probable cause to believe that CLAYPOOL has

committed violations of 18 U.S.C. § 371 (conspiracy), 18 U.S.C § 922(g)(1) (felon in possession

of a firearm), 18 U.S.C. § 922(o) (illegal possession of a machine gun), and 18 U.SC. § 1343 (wire

fraud).

                                       PROBABLE CAUSE

          7.   CLAYPOOL has emerged as a suspect based upon his connections to the “Wild

100s” street gang. CLAYPOOL has been identified as a Wild 100 member via multiple MPD



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           Case 2:22-mj-00046-WED Filed 03/18/22 Page 3 of 38 Document 1
reports, multiple sources of information, and an ATF confidential source. Agents have additionally

observed CLAYPOOL photographed with several previously identified Wild 100 members. These

individuals exclusively claim affiliation with the gang and do not represent other entities in

Milwaukee. CLAYPOOL has allegedly been engaged in multiple instances of COVID-19 fraud.

In fact, CLAYPOOL has been observed on his own publicly viewable social media profiles

(Instagram: “bracks0216”, “doit4_ab” & “longliveab0216” which are the same account) posting

several pictures of large amounts of cash, firearms, jewelry, and other items of value.

       8.      I know the Instagram account “longliveab0216” to be owned and operated by

CLAYPOOL. I analyzed Instagram messages between Instagram account “goldhuncho”, who I

know to be confirmed Wild 100’s member Chazz D. WHITE (B/M, 11/14/1990), and

CLAYPOOL following the receipt of CLAYPOOL’s Instagram return. On March 20, 2021

WHITE stated, “Send yo info a pic of yo ID Nd ssn email phone num.” CLAYPOOL responded

with a photograph of his Wisconsin Identification Card. CLAYPOOL went on to provide the email

address of “Byronclaypool0216@gmail.com.” CLAYPOOL later provided the social security

number “XXX-XX-XXXX.”




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         Case 2:22-mj-00046-WED Filed 03/18/22 Page 4 of 38 Document 1
                              4

Case 2:22-mj-00046-WED Filed 03/18/22 Page 5 of 38 Document 1
       9.     Following the receipt of CLAYPOOL’s Instagram return I discovered that there

were three registered email addresses associated to CLAYPOOL’s Instagram account;

byronclaypool1@gmail.com, byronclaypool84@gmail.com, and

byronclaypool0216@gmail.com To “register” an address, Instagram requires confirmation by

the account holder, CLAYPOOL in this case.




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        Case 2:22-mj-00046-WED Filed 03/18/22 Page 6 of 38 Document 1
                              6

Case 2:22-mj-00046-WED Filed 03/18/22 Page 7 of 38 Document 1
      11.   I analyzed Instagram messages between Instagram account “mr_bounceback100”,

who I know to be confirmed Wild 100’s member Ramon E. SAVGE (B/M, 06/13/1995), and

CLAYPOOL following the receipt of CLAYPOOL’s Instagram return. On September 20, 2021

CLAYPOOL      stated,   “Call   me   right   now   I’m   tryna   do   sumn   4148997570.”




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       Case 2:22-mj-00046-WED Filed 03/18/22 Page 8 of 38 Document 1
       12.    It should be noted that CLAYPOOL is a convicted felon related to State of

Wisconsin Circuit Court number 2017CG000189 for 2nd Degree Reckless Injury 940.23(2)(a). Due

to the aforementioned felony conviction CLAYPOOL is prohibited from firearm possession.

       13.    I analyzed Instagram messages between Michael M. ANDERSON (B/M,

04/24/1997), who is a confirmed Wild 100’s member, and CLAYPOOL following the receipt of

ANDERSON’s Instagram search warrant return. On March 3, 2021 CLAYPOOL stated, “Bro call

me 414-899-7570 I’ll cheese you just to let me hold it down until like 2 weeks when I go to store

with my big cuz and grab nice glizzy. I been taking it easy long enough I’m tryna get out here.

Full fledge now but I can’t with out no smack. My bitch got Ls and shit. I don’t really fw niggas

so you ion gotta worry bout NO GOOFY shit. On AB.” I am aware that the term “cheese” can

refer to money or cash. I am aware that the terms “glizzy” and “smack” can refer to Glocks or

other firearms. I am aware that the term “Ls” can refer to a Concealed Carry Weapon (CCW)

permit. I interpreted this conversation as CLAYPOOL essentially renting a firearm from

ANDERSON for two weeks until CLAYPOOL’s cousin was able to buy a firearm for him.

CLAYPOOL offered ANDERSON money in exchange for the firearm and stated that his girlfriend

has a CCW permit.




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         Case 2:22-mj-00046-WED Filed 03/18/22 Page 9 of 38 Document 1
       14.     On May 20, 2021 CLAYPOOL sent ANDERSON a message which stated, “Wya

nigga I pick up new glock today.” CLAYPOOL informed ANDERSON that he acquired a Glock

firearm.




       15.     On December 11, 2021 at approximately 10:00 PM CLAYPOOL posted a video

to his Instagram story. The video depicts a tan Glock firearm with a gold extended magazine

protruding from the magazine well resting on CLAYPOOL’s lap. In the video CLAYPOOL is

wearing red track pants with two white stripes going from his waist down. It should be noted that

in the video you can see that CLAYPOOL does not have a left leg. CLAYPOOL lost his left leg

in a car accident in 2017. The video continues and CLAYPOOL manipulates a top loading AR

style pistol with a green casing catchers attached to the lower, which is located in the front floor

board of the vehicle. Bullets can be seen in the magazine due to the magazine being transparent.

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           Case 2:22-mj-00046-WED Filed 03/18/22 Page 10 of 38 Document 1
During the video CLAYPOOL flips the camera over so his face can be seen while he is pointing

the Glock at the camera. CLAYPOOL is wearing a pair of Cartier Style glasses with custom

lenses.




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          Case 2:22-mj-00046-WED Filed 03/18/22 Page 11 of 38 Document 1
               Fraud Related to COVID-19 Relief Programs

16.   Pursuant to legal process served on Google, they returned subscriber, IP data, and


                                      11

 Case 2:22-mj-00046-WED Filed 03/18/22 Page 12 of 38 Document 1
email header information. The subscriber name (Google Account ID: 239301598950) was listed

as Byron CLAYPOOL with a date of birth of July 3, 1998. According to a Google document, the

listed email address             on the aforementioned Google account                      for CLAYPOOL is

byronclaypool658@gmail.com. According to the Google document, the listed phone number on

the aforementioned Google account for CLAYPOOL is (414) 899-7570. It should be noted that

the phone number associated the Google account is the same phone number verified on

CLAYPOOL’s Instagram and the same phone number that CLAYPOOL provided to various other

Instagram users throughout his Instagram warrant return.

           17.      Pursuant to the legal process served on Google, sixty-six (66) separate email

accounts were linked to the email address mentioned in paragraph fifteen (15). The 66 email

addresses were linked by Cookies. Cookies are small text files sent by the website you're visiting

to the computer or device you're using. If accepted, these cookies are stored on the web browser

of your device. Cookies can then track and collect data from your browser, sending that data back

to the website owner. 1

           18.      Pursuant to the legal process served on Google, nineteen (19) separate email

addresses were linked to the phone number mentioned in paragraph fifteen (15).

           19.      I have learned from multiple sources, including posts by Wild 100’s members on

social media, that the Wild 100’s are engaged in multiple schemes to defraud unemployment

insurance and COVID-19 relief programs. For example, I have seen posts and videos on social

media where Wild 100’s members use the California EDD system to file fraudulent unemployment

claims in the names of third parties. They access the site, and file a claim utilizing someone’s date

of birth, social security number, and phone number. Most individuals split the profits with the



1
    Source: Norton Security, available at https://us.norton.com/internetsecurity-privacy-should-i-accept-cookies.html

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            Case 2:22-mj-00046-WED Filed 03/18/22 Page 13 of 38 Document 1
person supplying their identity for the claim. The CARES Act established a new program—PUA—

to provide unemployment benefits during the COVID-19 pandemic to people who do not qualify

for regular unemployment insurance benefits including business owners, self-employed workers,

independent contractors, and those with a limited work history who are out of business or have

significantly reduced their services as a direct result of the pandemic. Unemployment insurance

benefits provided under the PUA program are sometimes referred to as PUA benefits. Each state’s

unemployment insurance office is responsible for distributing these benefits if available in that

state.

         20.   In many states, PUA is distributed in the form of debit cards that are mailed directly

to the beneficiary. The beneficiary may then use the debit card to withdraw the PUA funds from

an ATM. Once the claim is approved, the individual committing the fraud will log into EDD and

change the mailing address for the loaded debit card to be sent to a Milwaukee address. The

individual will then withdraw the money from these loaded debit cards from an ATM and split the

profits with the individual for whom they are filing the false claim.

         21.   I analyzed Instagram messages between Michael M. ANDERSON (B/M,

04/24/1997), who is a confirmed Wild 100’s member, and CLAYPOOL following the receipt of

ANDERSON’s Instagram search warrant return. The two discussed different schemes to earn

money. On June 20, 2021, CLAYPOOL shared two screenshots of the California Employment

Development Department (EDD) website which depicts two separate accounts with the total

amounts paid as $12,141.00 and $19,350.00 in insurance benefits between the dates of June 17,

2021 to June 19, 2021.




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          Case 2:22-mj-00046-WED Filed 03/18/22 Page 14 of 38 Document 1
                              14

Case 2:22-mj-00046-WED Filed 03/18/22 Page 15 of 38 Document 1
       22.     On July 1, 2021, CLAYPOOL stated, “I wanted to come down there but I’m

swiping heard [sic] the cards lick if you try to swipe OT.” I’m aware that the term “swiping cards”

can refer to committing identify theft and stealing individuals benefits that are sent to them via

pre-paid debit cards.




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        Case 2:22-mj-00046-WED Filed 03/18/22 Page 16 of 38 Document 1
      23.    I analyzed Instagram messages between Instagram user “bogaty_espiritu” and

CLAYPOOL following the receipt of CLAYPOOL’s Instagram search warrant return. On July


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       Case 2:22-mj-00046-WED Filed 03/18/22 Page 17 of 38 Document 1
24, 2021, CLAYPOOL stated, “I’ll send you my log ins to see what’s up I got 7 apps they gotta

backdate and like 10 people sent info tryna tap in but ion know what to do. Do I put 3/25/2021

on the application too.” I am aware that the term “apps” can refer to EDD applications.




       24.     I analyzed Instagram messages between Instagram user “_mevsmi” and

CLAYPOOL following the receipt of CLAYPOOL’s Instagram search warrant return. On August

16, 2021 CLAYPOOL stated, “Who tryna make 20k you just need 3 forms of IDENTIFICATION,

I just want 5-7k.” I am aware that in order to apply for unemployment with the California EDD,

three forms of identification are needed. Subjects who are seeking new “clients” often send out

messages     similar    to    the    aforementioned     message      sent    by    CLAYPOOL.




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        Case 2:22-mj-00046-WED Filed 03/18/22 Page 18 of 38 Document 1
                                The Premises to be Searched

       25.    According to public records checks with the Wisconsin Department of

Transportation, as of June 28, 2021, CLAYPOOL’s address on file is listed as 214 E Florida

Street #212, Milwaukee, Wisconsin, 53204, the PREMISES. According to the Department of

Corrections, CLAYPOOL’s listed address is 214 E Florida Street, Milwaukee, Wisconsin,

53204, the PREMISES.

                                              18

        Case 2:22-mj-00046-WED Filed 03/18/22 Page 19 of 38 Document 1
       26.     On February 14, 2022 I observed photos uploaded to CLAYPOOL’s Instagram

account. The photo depicts CLAYPOOL sitting on the kitchen counter. In the photo CLAYPOOL

is wearing Cartier glasses with custom lenses and a white puffy coat with Sherpa lining and red

zipper strings. The counter tops are white in color, the cabinets are black with silver handles, the

refrigerator is black with a stainless steel door, and the wall appears to be 2”x4” pieces of wood

cut to different lengths used as a backsplash. I reviewed photos from the Maxwell Lofts website

(maxwellmilwaukee.com) and determined that the cabinets, counter tops, refrigerator, and

backsplash match those of the photograph uploaded by CLAYPOOL. According to the Maxwell

Lofts website, Maxwell Lofts are located at 214 E Florida Street, Milwaukee, WI 53204.




                                                19

        Case 2:22-mj-00046-WED Filed 03/18/22 Page 20 of 38 Document 1
                              20

Case 2:22-mj-00046-WED Filed 03/18/22 Page 21 of 38 Document 1
                              21

Case 2:22-mj-00046-WED Filed 03/18/22 Page 22 of 38 Document 1
        27.      On October 6, 2021 at 11:35 AM TFO Richard KLARKOWSKI and I conducted

an interview of Jaquan A WRIGHT (B/M, 08/08/1999), a confirmed Wild 100’s member 2.

During the interview WRIGHT provided information on CLAYPOOL. WRIGHT stated that an

associate of his known as “B Racks”, which is an alias for CLAYPOOL, was in possession of a

“Ghost Glock” with an “internal switch” along with other firearms. I am aware that a “Ghost

Glock” is a Glock style handgun that does not have any serial numbers, which essentially makes

the firearm untraceable. I am aware that the term “switch” can refer to an auto-sear. I am aware

that auto-sears are items installed on the backplate of Glock brand firearms and these devices

illegally convert the firearm from semi-automatic to fully automatic. I am aware that auto-sears

are considered a machine gun by the Bureau of Alcohol, Tobacco, Firearms and Explosives

(ATF) definition and thus making them illegal to possess under both federal and Wisconsin State

Statute 941.26(1g)(a) which states “No person may sell, possess, use, or transport any machine

gun or other full automatic firearm.” See also 18 U.S.C. § 922(o), and 26 U.S.C. 5845(b). During

the interview, WRIGHT provided TFO KLARKOWKSI and I with CLAYPOOL’S residence.

Using google maps, WRIGHT pointed out the Maxwell Lofts located at 214 E Florida Street as

the apartment building where CLAYPOOL resides.

        28.      I analyzed Instagram messages between Instagram user “marc0bricks” and

CLAYPOOL following the receipt of CLAYPOOL’s Instagram search warrant return. On



2
  WRIGHT’s prior convictions include : Receiving Stolen Property (>$2500-$5000) [Modifiers: PTAC, as a Party to
a Crime], a class I felony, Wisconsin Statutes 943.34(1)(bf), Possess Drug Paraphernalia [Modifiers: PTAC, as a
Party to a Crime], an unclassified misdemeanor, Wisconsin Statutes 961.573(1), Battery, a class A misdemeanor,
Wisconsin Statutes 940.19(1), Operate Vehicle w/o Consent-Passenger [Modifiers: PTAC, as a Party to a Crime], a
class A misdemeanor, Wisconsin Statutes 943.23(4m), Possess Firearm-Convicted of a Felony, a class G felony,
Wisconsin Statutes 941.29(1m)(a), Bail Jumping-Felony, a class H felony, Wisconsin Statutes 946.49(1)(b),
Operating While Revoked (Rev due to alc/contr subst/refusal), an unclassified misdemeanor, Wisconsin Statutes
343.44(1)(b), Bail Jumping-Felony, a class H felony, Wisconsin Statutes 946.49(1)(b).
WRIGHT provided information in hopes of having his probation hold lifted. WRIGHT was informed that PO
KLARKOWKSI and I could not help him with his probation hold.

                                                      22

         Case 2:22-mj-00046-WED Filed 03/18/22 Page 23 of 38 Document 1
September 8, 2021 “marc0brickz” asked, “You got a good address?” CLAYPOOL replied,

“Yup” and later stated, “214 E Florida St Milwaukee, WI 53204.”




                                    TECHNICAL TERMS

       29.    Based on my training and experience, I use the following technical terms to

convey the following meanings:

             a. IP Address: The Internet Protocol address (or simply “IP address”) is a unique

                 numeric address used by computers on the Internet. An IP address looks like a

                 series of four numbers, each in the range 0-255, separated by periods (e.g.,

                 121.56.97.178). Every computer attached to the Internet must be assigned an IP

                 address so that Internet traffic sent from and directed to that computer may be

                 directed properly from its source to its destination. Most Internet service

                 providers control a range of IP addresses. Some computers have static—that is,

                 long-term—IP addresses, while other computers have dynamic—that is,

                 frequently changed—IP addresses.

             b. Internet: The Internet is a global network of computers and other electronic

                 devices that communicate with each other. Due to the structure of the Internet,

                 connections between devices on the Internet often cross state and international
                                               23

        Case 2:22-mj-00046-WED Filed 03/18/22 Page 24 of 38 Document 1
                  borders, even when the devices communicating with each other are in the same

                  state.

               c. Storage medium: A storage medium is any physical object upon which

                  computer data can be recorded. Examples include hard disks, RAM, floppy

                  disks, flash memory, CD-ROMs, and other magnetic or optical media.

               d. SMS: Short Message Service (or simply “SMS”) is used to send text messages

                  to mobile phones. The messages can typically be up to 160 characters in

                  length, though some services use 5-bit mode, which supports 224 characters.

        COMPUTERS, ELECTRONIC STORAGE, AND FORENSIC ANALYSIS

       30.     As described above and in Attachment B, this application seeks permission to

search for records that might be found on the PREMISES, in whatever form they are found. One

form in which the records might be found is data stored on a computer’s hard drive or other

storage media. Thus, the warrant applied for would authorize the seizure of electronic storage

media or, potentially, the copying of electronically stored information, all under Rule

41(e)(2)(B).

       31.     I submit that if a computer or storage medium is found on the PREMISES, there

is probable cause to believe those records will be stored on that computer or storage medium, for

at least the following reasons:

               a. Based on my knowledge, training, and experience, I know that computer files

                  or remnants of such files can be recovered months or even years after they

                  have been downloaded onto a storage medium, deleted, or viewed via the

                  Internet. Electronic files downloaded to a storage medium can be stored for

                  years at little or no cost. Even when files have been deleted, they can be



                                                24

        Case 2:22-mj-00046-WED Filed 03/18/22 Page 25 of 38 Document 1
                 recovered months or years later using forensic tools. This is so because when a

                 person “deletes” a file on a computer, the data contained in the file does not

                 actually disappear; rather, that data remains on the storage medium until it is

                 overwritten by new data.

              b. Therefore, deleted files, or remnants of deleted files, may reside in free space

                 or slack space—that is, in space on the storage medium that is not currently

                 being used by an active file—for long periods of time before they are

                 overwritten. In addition, a computer’s operating system may also keep a record

                 of deleted data in a “swap” or “recovery” file.

              c. Wholly apart from user-generated files, computer storage media—in particular,

                 computers’ internal hard drives—contain electronic evidence of how a

                 computer has been used, what it has been used for, and who has used it. To

                 give a few examples, this forensic evidence can take the form of operating

                 system configurations, artifacts from operating system or application operation,

                 file system data structures, and virtual memory “swap” or paging files.

                 Computer users typically do not erase or delete this evidence, because special

                 software is typically required for that task. However, it is technically possible

                 to delete this information.

              d. Similarly, files that have been viewed via the Internet are sometimes

                 automatically downloaded into a temporary Internet directory or “cache.”

       32.     As further described in Attachment B, this application seeks permission to locate

not only computer files that might serve as direct evidence of the crimes described on the

warrant, but also for forensic electronic evidence that establishes how computers were used, the



                                                25

        Case 2:22-mj-00046-WED Filed 03/18/22 Page 26 of 38 Document 1
purpose of their use, who used them, and when. There is probable cause to believe that this

forensic electronic evidence will be on any storage medium in the PREMISES because:

              a. Data on the storage medium can provide evidence of a file that was once on the

                 storage medium but has since been deleted or edited, or of a deleted portion of

                 a file (such as a paragraph that has been deleted from a word processing file).

                 Virtual memory paging systems can leave traces of information on the storage

                 medium that show what tasks and processes were recently active. Web

                 browsers, e-mail programs, and chat programs store configuration information

                 on the storage medium that can reveal information such as online nicknames

                 and passwords. Operating systems can record additional information, such as

                 the attachment of peripherals, the attachment of USB flash storage devices or

                 other external storage media, and the times the computer was in use. Computer

                 file systems can record information about the dates files were created and the

                 sequence in which they were created, although this information can later be

                 falsified.

              b. As explained herein, information stored within a computer and other electronic

                 storage media may provide crucial evidence of the “who, what, why, when,

                 where, and how” of the criminal conduct under investigation, thus enabling the

                 United States to establish and prove each element or alternatively, to exclude

                 the innocent from further suspicion. In my training and experience, information

                 stored within a computer or storage media (e.g., registry information,

                 communications, images and movies, transactional information, records of

                 session times and durations, internet history, and anti-virus, spyware, and



                                               26

        Case 2:22-mj-00046-WED Filed 03/18/22 Page 27 of 38 Document 1
       malware detection programs) can indicate who has used or controlled the

       computer or storage media. This “user attribution” evidence is analogous to the

       search for “indicia of occupancy” while executing a search warrant at a

       residence. The existence or absence of anti-virus, spyware, and malware

       detection programs may indicate whether the computer was remotely accessed,

       thus inculpating, or exculpating the computer owner. Further, computer and

       storage media activity can indicate how and when the computer or storage

       media was accessed or used. For example, as described herein, computers

       typically contain information that log: computer user account session times and

       durations, computer activity associated with user accounts, electronic storage

       media that connected with the computer, and the IP addresses through which

       the computer accessed networks and the internet. Such information allows

       investigators to understand the chronological context of computer or electronic

       storage media access, use, and events relating to the crime under investigation.

       Additionally, some information stored within a computer or electronic storage

       media may provide crucial evidence relating to the physical location of other

       evidence and the suspect. For example, images stored on a computer may both

       show a particular location and have geolocation information incorporated into

       its file data. Such file data typically also contains information indicating when

       the file or image was created. The existence of such image files, along with

       external device connection logs, may also indicate the presence of additional

       electronic storage media (e.g., a digital camera or cellular phone with an

       incorporated camera). The geographic and timeline information described



                                     27

Case 2:22-mj-00046-WED Filed 03/18/22 Page 28 of 38 Document 1
       herein may either inculpate or exculpate the computer user. Last, information

       stored within a computer may provide relevant insight into the computer user’s

       state of mind as it relates to the offense under investigation. For example,

       information within the computer may indicate the owner’s motive and intent to

       commit a crime (e.g., internet searches indicating criminal planning), or

       consciousness of guilt (e.g., running a “wiping” program to destroy evidence

       on the computer or password protecting/encrypting such evidence in an effort

       to conceal it from law enforcement).

    c. A person with appropriate familiarity with how a computer works can, after

       examining this forensic evidence in its proper context, draw conclusions about

       how computers were used, the purpose of their use, who used them, and when.

    d. The process of identifying the exact files, blocks, registry entries, logs, or other

       forms of forensic evidence on a storage medium that are necessary to draw an

       accurate conclusion is a dynamic process. While it is possible to specify in

       advance the records to be sought, computer evidence is not always data that

       can be merely reviewed by a review team and passed along to investigators.

       Whether data stored on a computer is evidence may depend on other

       information stored on the computer and the application of knowledge about

       how a computer behaves. Therefore, contextual information necessary to

       understand other evidence also falls within the scope of the warrant.

    e. Further, in finding evidence of how a computer was used, the purpose of its

       use, who used it, and when, sometimes it is necessary to establish that a

       particular thing is not present on a storage medium. For example, the presence



                                       28

Case 2:22-mj-00046-WED Filed 03/18/22 Page 29 of 38 Document 1
                  or absence of counter-forensic programs or anti-virus programs (and associated

                  data) may be relevant to establishing the user’s intent.

              f. I know that when an individual uses a computer to submit fraudulent

                  applications for benefits, the individual’s computer will generally serve both as

                  an instrumentality for committing the crime, and also as a storage medium for

                  evidence of the crime. The computer is an instrumentality of the crime

                  because it is used as a means of committing the criminal offense. The

                  computer is also likely to be a storage medium for evidence of crime. From

                  my training and experience, I believe that a computer used to commit a crime

                  of this type may contain: data that is evidence of how the computer was used;

                  data that was sent or received; notes as to how the criminal conduct was

                  achieved; records of Internet discussions about the crime; and other records

                  that indicate the nature of the offense.

       33.     In most cases, a thorough search of a premises for information that might be

stored on storage media often requires the seizure of the physical storage media and later off-site

review consistent with the warrant. In lieu of removing storage media from the premises, it is

sometimes possible to make an image copy of storage media. Generally speaking, imaging is the

taking of a complete electronic picture of the computer’s data, including all hidden sectors and

deleted files. Either seizure or imaging is often necessary to ensure the accuracy and

completeness of data recorded on the storage media, and to prevent the loss of the data either

from accidental or intentional destruction. This is true because of the following:

              a. The time required for an examination. As noted above, not all evidence takes

                  the form of documents and files that can be easily viewed on site. Analyzing



                                                 29

        Case 2:22-mj-00046-WED Filed 03/18/22 Page 30 of 38 Document 1
                 evidence of how a computer has been used, what it has been used for, and who

                 has used it requires considerable time, and taking that much time on premises

                 could be unreasonable. As explained above, because the warrant calls for

                 forensic electronic evidence, it is exceedingly likely that it will be necessary to

                 thoroughly examine storage media to obtain evidence. Storage media can store

                 a large volume of information. Reviewing that information for things described

                 in the warrant can take weeks or months, depending on the volume of data

                 stored, and would be impractical and invasive to attempt on-site.

              b. Technical requirements. Computers can be configured in several different

                 ways, featuring a variety of different operating systems, application software,

                 and configurations. Therefore, searching them sometimes requires tools or

                 knowledge that might not be present on the search site. The vast array of

                 computer hardware and software available makes it difficult to know before a

                 search what tools or knowledge will be required to analyze the system and its

                 data on the Premises. However, taking the storage media off-site and reviewing

                 it in a controlled environment will allow its examination with the proper tools

                 and knowledge.

              c. Variety of forms of electronic media. Records sought under this warrant could

                 be stored in a variety of storage media formats that may require off-site

                 reviewing with specialized forensic tools.

       34.     Based on the foregoing, and consistent with Rule 41(e)(2)(B), the warrant I am

applying for would permit seizing, imaging, or otherwise copying storage media that reasonably

appear to contain some or all of the evidence described in the warrant, and would authorize a



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        Case 2:22-mj-00046-WED Filed 03/18/22 Page 31 of 38 Document 1
later review of the media or information consistent with the warrant. The later review may

require techniques, including but not limited to computer-assisted scans of the entire medium,

that might expose many parts of a hard drive to human inspection in order to determine whether

it is evidence described by the warrant.

                                           CONCLUSION

       35.     I submit that this affidavit supports probable cause for a warrant to search the

PREMISES described in Attachment A and seize the items described in Attachment B.




                                                31

        Case 2:22-mj-00046-WED Filed 03/18/22 Page 32 of 38 Document 1
                                           ATTACHMENT A

                                         Property to be searched

The property to be searched is 214 E Florida Street, Milwaukee, WI, the “PREMISES”, which is

apartment unit number 212 of a red brick apartment style building, which bears white numerals

reading “214” on the front of the building along with the name “MAXWELL” on the front of the

building in white letters. A picture of the Subject Residence follows.




                                                32

        Case 2:22-mj-00046-WED Filed 03/18/22 Page 33 of 38 Document 1
                              33

Case 2:22-mj-00046-WED Filed 03/18/22 Page 34 of 38 Document 1
                                          ATTACHMENT B

                                          Property to be seized

1. All records relating to violations of 18 U.S.C. § 371 (conspiracy), 18 U.S.C § 922(g)(1) (felon

   in possession of a firearm), 18 U.S.C. § 922(o) (illegal possession of a machine gun), and 18

   U.SC. § 1343 (wire fraud) involving Byron J CLAYPOOL Jr, DOB: 07/03/1998:

           a. Firearms and/or ammunition;

           b. Records and information relating to the illegal possession of firearms, including

               machine guns as defined by 26 U.S.C. 5845(b);

           c. Records and information relating to a conspiracy to defraud the government;

           d. Records and information relating to an access of US currency fraudulently obtained

               using another individual’s identity;

           e. Records and information relating to COVID-19 relief;

           f. Records and information relating utility bills, writings, cell phones, computers,

               receipts, and/or other documentary evidence establishing who is in control of the

               premises;

           g. Records and information relating to the identity or location of the suspects.

2. Computers or storage media used to commit the violations described above.

3. For any computer or storage medium whose seizure is otherwise authorized by this warrant,

   and any computer or storage medium that contains or in which is stored records or information

   that is otherwise called for by this warrant (hereinafter, “COMPUTER”):

           a. evidence of who used, owned, or controlled the COMPUTER at the time the things

               described in this warrant were created, edited, or deleted, such as logs, registry

               entries, configuration files, saved usernames and passwords, documents, browsing


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        Case 2:22-mj-00046-WED Filed 03/18/22 Page 35 of 38 Document 1
     history, user profiles, email, email contacts, “chat,” instant messaging logs,

     photographs, and correspondence;

  b. evidence of software that would allow others to control the COMPUTER, such as

     viruses, Trojan horses, and other forms of malicious software, as well as evidence

     of the presence or absence of security software designed to detect malicious

     software;

  c. evidence of the lack of such malicious software;

  d. evidence indicating how and when the computer was accessed or used to determine

     the chronological context of computer access, use, and events relating to crime

     under investigation and to the computer user;

  e. evidence indicating the computer user’s state of mind as it relates to the crime under

     investigation;

  f. evidence of the attachment to the COMPUTER of other storage devices or similar

     containers for electronic evidence;

  g. evidence of counter-forensic programs (and associated data) that are designed to

     eliminate data from the COMPUTER;

  h. evidence of the times the COMPUTER was used;

  i. passwords, encryption keys, and other access devices that may be necessary to

     access the COMPUTER;

  j. documentation and manuals that may be necessary to access the COMPUTER or

     to conduct a forensic examination of the COMPUTER;

  k. records of or information about Internet Protocol addresses used by the

     COMPUTER;



                                       35

Case 2:22-mj-00046-WED Filed 03/18/22 Page 36 of 38 Document 1
          l. records of or information about the COMPUTER’s Internet activity, including

              firewall logs, caches, browser history and cookies, “bookmarked” or “favorite” web

              pages, search terms that the user entered into any Internet search engine, and

              records of user-typed web addresses;

          m. contextual information necessary to understand the evidence described in this

              attachment.

4. Routers, modems, and network equipment used to connect computers to the Internet.

              As used above, the terms “records” and “information” includes all forms of creation

       or storage, including any form of computer or electronic storage (such as hard disks or

       other media that can store data); any handmade form (such as writing); any mechanical

       form (such as printing or typing); and any photographic form (such as microfilm,

       microfiche, prints, slides, negatives, videotapes, motion pictures, or photocopies).

              The term “computer” includes all types of electronic, magnetic, optical,

       electrochemical, or other high speed data processing devices performing logical,

       arithmetic, or storage functions, including desktop computers, notebook computers, mobile

       phones, tablets, server computers, and network hardware.

              The term “storage medium” includes any physical object upon which computer data

       can be recorded. Examples include hard disks, RAM, floppy disks, flash memory, CD-

       ROMs, and other magnetic or optical media.

              This warrant authorizes a review of electronic storage media and electronically

       stored information seized or copied pursuant to this warrant in order to locate evidence,

       fruits, and instrumentalities described in this warrant. The review of this electronic data

       may be conducted by any government personnel assisting in the investigation, who may



                                                36

        Case 2:22-mj-00046-WED Filed 03/18/22 Page 37 of 38 Document 1
include, in addition to law enforcement officers and agents, attorneys for the government,

attorney support staff, and technical experts. Pursuant to this warrant, the FBI may deliver

a complete copy of the seized or copied electronic data to the custody and control of

attorneys for the government and their support staff for their independent review.




                                        37

 Case 2:22-mj-00046-WED Filed 03/18/22 Page 38 of 38 Document 1
